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Fwd: Palestinian Blood Stains Your Hands, Emory University and School of
Medicine

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MD2024-TALK@LISTSERV.CC.EMORY.EDU
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As you all celebrated the holidays and New Year in the warmth of your homes, holding your families
in safety and security, over 30,000 Palestinians were murdered before they could see 2024. Over
10,000 of them children.

Murdered, thanks to us, of course. For without the complicity of U.S. tax dollars, or without our silence
(which equates consent), the ongoing genocide of the Palestinians since 1948 would never have
been possible. And your silence is deafening.

You have had more than three months, more than 100 days, to say something, anything, on behalf of
the Palestinians. You have chosen not to. And this choice has made you complicit in our genocide.
Palestinian blood is on your hands, every single one of you, at Emory University and School of
Medicine.

Since October 7, 2023, Israel, with the backing of the U.S. and using bombs made in the U.S. and

our tax dollars, has:

Slaughtered more than 30,000 Palestinians (10,000+ of which are children) in Gaza (as per the Euro
Med Human Rights Monitor and reported on by the UN Office for the Coordination of Humanitarian
Affairs). We are not just numbers! Here is an instagram account dedicated to naming and sharing the
life of as many martyrs as possible (or look up @palestinianmartyrs)

o Israel is murdering approximately 250 Palestinians a day

Displaced 1.9 million Palestinians in Gaza (85% of the population)

Dropped more than 65,000 tons of explosives on the Gaza Strip (a tiny strip of land 25 miles long).
This is equivalent to three nuclear bombs we disgustingly dropped on Hiroshima in WW2.

Murdered more than 79 journalists (other reports say over 100, which is a record number of
journalists killed in any single instance). This is of course deliberate—Israel is attempting to murder
anyone who is sharing the truth with the world.

o Journalists are supposed to be off-limits as per international law

o Israel has deliberately targeted the families of these journalists with the intention of forcing
them to stop their reporting. One such journalist is Wael El-Dahdouh, Al Jazeera’s Gaza
correspondent, who has lost his wife, and now three of his children, due to Israel's deliberate
targeting of his family in the last few weeks. He continues to report on Israel’s war crimes, a
testament to the steadfastness and resilience of the Palestinian people. He is called the
Mountain of Palestine.

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Demolished residential buildings and all other infrastructure. As of the end of 2023, 300,000 homes
in Gaza have been destroyed (nearly 70% of homes)

But “health isn’t political”! Oh, really? In the land of health disparities? Being silent is a political
stance. Choosing not to stand up on behalf of the Palestinians is a political stance (that stance is a
consent and support for our genocide). Choosing to stay silent in the face of oppression and
repression is a political stance that supports the status quo. Silence is a political stance.

For those so ignorant and hardened that numbers do not move them, let me show you what genocide
looks like. Let me show you what you have paid for with your silence and your tax dollars:

Have you ever seen a child dug out from under the rubble? Or a family of sleeping children bombed?

Have you ever seen what white phosphorus does to a child?

Have you ever seen a child collect what is left of his family after they were bombed?

Have you seen someone change a child’s bandage over a limb amputation without morphine?

Have you seen a father, who left his home to bring his hungry child a cookie with the little money he
had, come home to find that his home, and his children in it, were bombed?

(You can see first-hand what genocide looks like by the young and resilience journalists in Gaza who
are documenting it. Visit the following Instagram accounts to see what it is exactly you are paying for:
@motaz_azaiza, @wizard_bisan1, @wael_eldahdouh, @mohammedasad.84, @mohmmed_awad89,
@mariam_abu_dagga, @solimanhijjy, @lama_jamous9, @amr.tabash, @hamdaneldahdouh,
@a7mhisham)

You built this world. You bombed that home. That child is dead because of us. None of this could
have happened without the support of the U.S. Without your silence and without the silence of Emory
University and its School of Medicine.

And for those who see brown and black people as disposable (your actions show me that, well,
almost all of you do), perhaps you would be more inclined to care about your peers—physicians and
nurses and paramedics. What an empty promise, Emory, you give to your students, as you preach
your “anti-racist” work and your hypocritical words that you care for human life. Your behavior shows
otherwise. Here is what Israel has done to deliberately destroy Gaza’s already poor health
infrastructure (due to a 16 year siege and blockade) since October 7”
79 ambulances have been targeted, many of which had paramedics and patients in them
26/36 hospitals in Gaza have been bombed
o Israel is bombing hospitals, with hundreds, sometimes thousands, of patients inside. Before
Al Shifa hospital was bombed (the biggest hospital in Gaza), a nephrologist by the name of Dr.
Hammom Alloh was interviewed by Democracy Now on October 31s: before he was killed
alongside his patients. He was asked by reporters why he did not evacuate the hospital when
Israel let them know they were going to bomb it. This was his honorable response, “And if | go,
who treats my patients [patients who are too sick to evacuate]? They are not animals!

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They have the right to receive proper healthcare! We can’t just leave. You think I went to
medical school and for my post graduate degrees for a total of 14 years to think only
about my life and not my patients’?! | am asking you, ma’am, you think this is the reason
| went to medical school? To think only about my life?”
§ This is what it means to be a Palestinian physician. He was martyred alongside his
patients, refusing to abandon them, while Israeli and US bombs rained on them from
above
§ There is no physician at Emory, except the Palestinian physician who was wrongfully
suspended recently, who is half the physician he was. Glory to him, who is alive in
heaven, watching what we do with his example. What will you do?

300 healthcare workers have been murdered by Israeli and US bombs

Since January 8», more than 600 healthcare workers and patients have gone missing from Al Aqsa
hospital (one of the last functioning, and that is a generous word, hospitals in Gaza) due to forced
expulsion by the Israeli military. Their locations still remain unknown, and it is unknown how many of
them have been murdered.

There are no more medicines left in Gaza. It was already difficult to obtain necessary medical tools
due to the siege on Gaza, and now doctors are forced to operate, amputate, and treat without
necessary morphine and painkillers.

Here you will find the Instagram accounts of some of the physicians in Gaza who are documenting
first hand these conditions: @dr.ghassan.as, @dr.ahmed.moghrabi, @mohammedharar2)

All you physicians at Emory, medical students at Emory, your acceptance of our murder
defines your moral compass (or rather, lack thereof). Your silencing of Palestinian physicians
who speak up and resist this genocide are a testament that you are indeed on the side of
colonization, white supremacy, ethnic cleansing, and apartheid. That is what Emory SOM
represents. Make no mistake, Palestinians will remember this and all those on the side of
justice will remember.

For those who think this all started on October 7m, then you have no idea the plight of the
Palestinians. The ongoing ethnic cleansing, forced exile, mass murder, and collective punishment of
the Palestinians began in 1948 with the Nakba, the year European powers (ahem, the UN) gave
consent for Palestine to be colonized by Zionists, which led to the creation of the settler colonial state
of apartheid Israel and the expulsion of 750,000 Palestinians (the majority of Palestinians). My own
mother was forced to walk out of Palestine on foot in 1967 in the Naksa (the second mass exodus of
Palestinians, 500,000 more exiled) when Israel illegally occupied the rest of Palestinian land (what we
know today as the West Bank and Gaza). Once more we are watching thousands of Palestinians
embark on what is another trail of tears. Amarch of death. Thanks to you. Because of you. Paid for
by you.

The Palestinian struggle is a struggle against colonization, against military occupation, against white

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supremacy, against land theft, and against apartheid (Israel is a well-documented apartheid state, see
this 250+ page Amnesty International report). And if you choose to believe there are two legitimate
sides, you are believing that there is a legitimate excuse to colonize and mass murder indigenous
people to create a settler colonial state in its place. Sounds familiar, doesn’t it? US and Israeli kinship
has to do with shared origin stories of ethnic cleansing of indigenous peoples, genocide, and land
theft. They are each others’ cheerleaders.

And for those whose hearts are stone, who can only find excuses to justify our death, my death, the
expulsion of my family, with your non-existent moral clarity, here are some more facts for you.

Gaza has been under brutal siege and blockade by the state of Israel since 2006 as a form of
collective punishment. More than 2 million Palestinians live in a small strip of land 25 miles long, one
of the most densely populated areas on the planet. Israel's ongoing siege and blockade has
subjected Gaza to some of the worst humanitarian conditions of our generation. These were the
conditions in Gaza before October 7m». These statistics and facts show that Israel’s intent has a/ways
been to kill or expel the 2 million Palestinians in Gaza, half of which are children. Genocide and ethnic
cleansing of the Palestinians was always an essential component of Israel’s existence. This is what
Gaza looked like before October 7«:
63% of Gazans were food insecure (or 1.58 million Gazans)
o For almost a decade and a half Israel has deliberately been slowly starving Gaza. Now, Gaza
faces one of the worst man-made, Israeli and US made, famines
82% of Gazans lived in poverty
95% did not have access to clean water
If you are 16 years old in Gaza, you are 6 Israeli assaults old
In 2018, both the WHO and the UN were urgently reporting that by 2020, Gaza would be unlivable.
ime what it was like in 2021. 2022. 2023?

Israel never let up the siege despite international pressure (by international bodies created by the
West, so there's that), or in response to decades of peaceful Palestinian resistance, and Palestinians
continued to die from hunger, lack of clean water, and lack of medical supplies under its brutal siege.
Israel's hope was that all the almost 2.5 million Palestinians in Gaza would lay down and die, without
a peep. That's how | am supposed to act too, right? Watch you all ignore a genocide, and lay down
and be murdered with my people, without a peep. Resistance is justified when people are occupied.
No justice, no peace. Palestinians have demonstrated 75 years of peaceful resistance, which was
ignored every time. Should we lay down and die? That would be more comfortable for you, wouldn't
it? To watch me die, alongside my people.

Here are the ways in which you, every single one of you reading this email, are complicit in our
genocide.

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The U.S. has provided unconditional financial and military aid to Israel in the billions for decades,
despite Israel's war crimes against the Palestinians. Most recently, Biden has approved 14.3 billion
dollars to be sent to Israel for support.

o And yet, in the US we can't afford free healthcare? Free education? To house our community
who is unhoused? To feed our communities who are hungry? To bring our brothers and sisters
out of poverty? No, clearly, we can afford to protect everyone, YOU just choose not to.
This is the world YOU built.

o The U.S. is the biggest financer of Palestinian colonization, ethnic cleansing, and exile. After
Israelis, Americans have the most Palestinian blood on their hands. That's you!

Israel has dropped 22,000 American-made bombs on Gazans in the last few months. The U.S. is
providing these weapons to its sister colonial state to murder the indigenous Palestinians

The United States is the only country on the security council to veto a ceasefire resolution.
Humiliating. Where was your dissent? Your cries of anger?

o Imagine that America is so far right, has normalized genocide and ethnic cleansing so much
that it cannot even accept a nonbinding resolution for a ceasefire. This is the country you built.
On blood. On death. This is a reflection of you.

Your lack of condemnation of Atlanta's COP CITY is a consent to its existence. This is a project that
will further militarize Atlanta police, while simultaneously increasing police brutality and destroying our
environment. U.S. police forces do not keep black and brown people safe. How are we still having this
conversation? This global military complex is directly connected to Palestine—the weapons used to kill
Palestinians are used to kill black and brown people in our city.

Atlanta police forces have been undergoing “police exchanges” with the IDF (Israeli military) through
a local program called GILEE. Ultimately, what is happening is that local police forces and paramedics
go to Israel to train under a military force to better learn how to murder, surveille, and target black and
brown people. Right in our own backyards.

Still don’t believe your local Palestinian MD/PhD candidate? Of course you don't! | am just a
disposable brown Muslim woman, whose cries for justice are a nuisance to your comfort. No problem.
Who knows apartheid, genocide, and murder better than South Africa? On January 11th and 12th,
South Africa brought an 84 page report to the International Court of Justice to charge Israel with
genocide. Here is how it went down (I strongly urge you to gather some friends and watch this
hearing):

The first day of the hearing, South Africans presented a strong and soulful indictment against Israel
citing an extensive amount of evidence that what Israel has done to Palestinians amounts to genocide.
You can watch this part here.

The second day of the hearing, Israel's weak defense. Imagine yourself defending genocide (that’s
what those who say “I stand with Israel” are doing). You can watch this sorry excuse here.

Although the ICJ really doesn’t have any power to implement their decision, this case will go down in
history. A country that has fought against apartheid and colonization is now rising from the ashes to
defend its global siblings who are suffering the same fate. Black South Africans who lived under
apartheid grew to become lawyers and judges, and are using what they have built from the ground up
to defend the Palestinians and reject Western violence. This is what solidarity looks like! None of us are

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free until all of us are free!

Don't believe black South Africans? Of course you don’t! Emory School of Medicine doesn’t even
care about our local black community members. Or any of our deliberately disenfranchised
communities. Especially you physicians and medical students who walk on your way to rotations, to
work, past our hungry and unhoused brothers and sisters to get Starbucks before your shift. Shame!
Or those who stand idly while Atlanta police murder our black and brown community members.
Shame! You who are silent while our city destroys our forests in order to build a Cop City that will
continue to train police to get better at murdering black and brown people. Shame! Shame! Shame!

| am embarrassed to be at an institution like Emory University School of Medicine who not only has
been silent about the ethnic cleansing of Palestinians, but has actively participated in silencing
Palestinians who speak words of resistance against our genocide. Emory SOM has always been
silent in the face of injustice! A place where “care” is conditional—based on your skin color, your
religion, your palatability to white supremacy, and how much money you have in your pocket. | really
didn’t expect anything more than your complicity and your silence. And here it is, loud and clear.

Shame on every single one of you. You will never be able to wash our blood off your hands. We will
never, ever forget this.

Still finding excuses as to why Palestinian deserve to be murdered? Do you believe the racist and
dehumanizing myths perpetuated by the Western media, who have always historically justified the
murdered of black and brown people? / wish for you what you wish for the Palestinians. |f you believe
in liberation, this is a prayer for your benefit, for our collective freedom! If you are of the ones who
believe the onslaught is justified, it is a curse. And the prayers of the oppressed are the loudest and
closest to God.

| will never forget your silence on this issue, because | know without a doubt that if 1 was that
Palestinian under the rubble, not only would you not dig me out, you would have been the one
to bomb my home and bury me under it and tell the world that I deserved it. Rather than
condemn the bombing, you would instead send an email saying that both sides deserve
mercy and compassion. You are no leaders, no mentors, no teachers of mine. There are no
two sides to colonization, ethnic cleansing, or genocide. There is no complexity, no nuance.
You are either on the side of the colonizer or the colonized. You have chosen your side.

| will leave you all with three final thoughts. The first, a harrowing indictment from Reverend Munther

Isaac, a Palestinian religious leader in Bethlehem, the birth place of Jesus PBUH (who was, you
guessed it, a Palestinian), whose words on Christmas mass a few weeks ago you will never forget:

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“Gaza today has become the moral compass of the world. Gaza was hell before October 7», and the
world was silent. Should we be surprised at their silence now? If you are not appalled by what is
happening in Gaza, if you are not shaken to your core, there is something is wrong with your
humanity. And if we as Christians are not outraged by the genocide, by the weaponization of the Bible
to justify it, there is something wrong with our Christian witness and we are compromising the
credibility of our gospel message. If you fail to call this a genocide, that is on you. It is a sin and a
darkness you willingly embrace. | feel sorry for you. We will be okay. Despite the immense blow we
have endured, we the Palestinians will recover. We will rise. We will stand up again from the midst of
destruction, as we have always done as Palestinians, although this is by far the biggest blow we have
received in a long time. But we will be okay. But for those who are complicit, | feel sorry for you.
Will you ever recover from this? Your charity and your words of shock after the genocide will not
make a difference. And | know these words of shock are coming, and | know people will give
generously for charity. But your words won't make a difference. Words of regret won't suffice for you.
And let me say it, we will not accept your apology after the genocide. What has been done has
been done. | want you to look in the mirror and ask yourself: where was | when Gaza was
going through a genocide?” (you can watch him deliver this sermon on his Instagram
@munther_isaac)

The second point is that Emory is one of many institutions who has systematically targeted and
silenced Palestinian students and physicians with false accusations of anti-Semitism. |srael has
weaponized the true existence of antisemitism, and conflated critique of Israel, or critique of

Zionism (a political ideology that has materially manifested as a colonial project and believes that
Israel has a right to displace and murder indigenous Palestinians to create a state) with antisemitism.
Emory University has a history of perpetuating this racist myth in order to silence, expel, and fire
Palestinians. For instance, last semester our dear president of said university sent an ominous email
about “antisemitism” on campus. Do y’all even know what he was rereferring to? He referred to a
student protest in which students chanted “Free Palestine” and “From the River to the Sea, Palestine
will be Free!”. Of course, Western media is the work horse of Israel, and so they falsely report that
these are antisemitic statements, when in fact they are /and back statements that indigenous people
make globally, including the Palestinians. What does land back mean? Let's ask indigenous peoples:
“The Land Back movement advocates for a transfer of decision-making power over land to
Indigenous communities. The movement does not ask current residents to vacate their homes, but
maintains that Indigenous governance is possible, sustainable, and preferred for public lands.” And
whilst Israeli government officials are literally making actual genocidal statements against
Palestinians, institutions like Emory target Palestinians and those in solidarity with false accusations
in order to silence our dissent. Deliberating banishing the aforementioned statements that call for total
freedom of Palestinians on their lands is a tool used to silence Palestinian resistance. Palestinian
blood stains your hands, Emory University. Our blood stains your hands. Our blood stains
your hands. One day, you will be held to reckoning for what you have done to us.

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| know this is a loaded issue, and | do not take antisemitism lightly, and if anyone knows me, they
know | have organized profusely for many years with Jewish communities for Palestinian liberation
and against antisemitism. Because | take this matter seriously, here | provide a list of resources
written by Israeli and Jewish scholars (since, obviously y’all don’t believe Palestinians or indigenous
people or people of color, etc) on the conflation of anti-Zionism and critique of Israel with antisemitism
as a tool to silence Palestinian voices: here, click this, this too, definitely read this one, aaaaand this. |
happened to write about this phenomena for one of my final papers last semester, which provides a
critical historical and religious perspective—you are welcome to take a look.

The last and third message comes from me, your peer, your community member, a Palestinian in
your midst. The majority of Palestinians are Muslims, and our resistance, steadfastness, and
overwhelming compassion and spirit of justice rooted in our faith is what has allowed us to survive
this colonization for a century. We know our martyrs are not dead, and they watch us alongside our
ancestors as we fight for our freedom. In Islam, whether you are alive or dead has to do with the
state of your soul, not your body. For those unmoved and all you find in your heart is excuses
to justify our death--woe to you, you whose heart still beats, woe to you, for you are already
dead.

Let it be remembered that the Palestinians never lost! You cannot kill a people who know death is not
the end! Our martyrs are not dead! And the Palestinians never bowed their heads, never stopped
resisting colonization, occupation, and ethnic cleansing. We have never abandoned our cause, we
will not abandon our land, and never will! A better world, a world in which every single one of us is
free, is being ushered in, with, or without you.

You may be wondering why this email was sent to everyone and not a targeted few. For one, like |
mentioned earlier, Emory has picked on and targeted Palestinians on campus and repeatedly denied
their efforts. Two, institutions often get away with structural violence—both implicit and explicit—
because they are assumed to have inherent benevolence. However, it is all of our responsibilities to
hold our institutions accountable! And they should be held accountable to the people who make them
function. Without us, institutions are nothing but empty structures. Three, students are afraid to speak
out because of institutional repression—this is a reality, and this is my attempt to show the courage of
global resistance efforts by taking the first step in breaking the silence.

Should | be expelled for this message, since that is clearly the precedent Emory has set, woe
to Emory, for you will lose so much more than | will. You will lose whatever pulse is left in this
place.

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And for the students of conscience who have read this, identify yourselves! Separate
yourselves from the silence of your institution! Reply “all” to these listservs with statements
of solidarity! They can pick us off when we are alone, but they cannot punish us all! The
people united can never be defeated!

Inshallah, towards collective liberation!
Umaymah

(Linked here is a resource list for those who want to learn more. Israeli and US crimes against
Palestinians have been documented profusely for decades, and today’s social media has left us the
most horrific first hands account of genocide. In fact, this is the most well documented genocide
in all of history. You will find what you need in this document to hurry up and join the movement for
liberation. We will not wait for freedom any longer. And by the way, for Palestinians to truly be free,
everyone else must be free. This is a liberation movement that extends between all the rivers and all
the seas. Let's STOP COP CITY while we are at it, house all our community members, fight for free
healthcare for all, free Sudan, make sure no one is hungry again, and abolish police and prisons. If |
forgot anything, don’t worry, it’s on the list. Liberation is coming. Unjust empires never last. The

people united can never be defeated).

